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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

     UNITED STATES OF AMERICA,
                       Plaintiff,
                                         HONORABLE SHALINA KUMAR
           v.
                                         No. 21-20184
     MICHAEL FRALEY, JR.,
                    Defendant.
     _____________________________/


                           ARRAIGNMENT & PLEA HEARING
                           Tuesday, September 20, 2022

     Appearances:
     On behalf of Plaintiff              On behalf of Defendant
     Blaine Longsworth                   Henry Scharg
     600 S. Church St.-Ste 210           30445 Northwestern Hwy.,Ste 225
     Flint, MI 48502                     Farmington Hills, MI 48334
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                                     -    -    -
                To obtain a certified transcript, contact:
                             Andrea E. Wabeke
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1                Flint, Michigan
2                Tuesday, September 20, 2022
3                2:55 p.m.
4                                    -    -    -
5                CASE MANAGER:     The United States District Court for
6    the Eastern District of Michigan is now in session, the
7    Honorable Shalina Kumar, United States District Judge,
8    presiding.
9                Please be seated.
10               The Court will now hear criminal case number
11   21-CR-20184-1, the United States of America versus Michael
12   Fraley, Jr.
13               Would counsel please place your appearances on the
14   record, beginning with the Government.
15               MR. LONGSWORTH:     Good afternoon, your Honor.        Blaine
16   Longsworth, appearing on behalf of the United States.
17               MR. SCHARG:     Good afternoon, your Honor.       Henry
18   Scharg appearing on behalf of Mr. Fraley.
19               THE COURT:    Good afternoon.      We need to start with an
20   arraignment on the information, correct?
21               MR. SCHARG:     That's correct.
22               THE COURT:    Please swear the Defendant.
23               CASE MANAGER:     Raise your right hand, please.
24               Do you solemnly swear or affirm that the testimony
25   you're about to give in this matter is the truth, the whole

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1    truth, and nothing but the truth, so help you God?
2                THE DEFENDANT:     Yes, I do.
3                THE COURT:    Thank you.     You can sit down if you want.
4                THE DEFENDANT:     Thank you.
5                THE COURT:    Sir, can you please state your full name.
6                THE DEFENDANT:     Michael Fraley, Jr.
7                THE COURT:    Mr. Fraley, you're here today because the
8    U.S. Attorney sitting in this district has filed an information
9    charging you with Count 1, possession with intent to distribute
10   five or more grams of methamphetamine.          Do you understand that?
11               THE DEFENDANT:     I do.
12               THE COURT:    That's in violation of 21 U.S.C. Section
13   841(a)(1), 841(b)(1)(B)(viii).
14               And you received a copy of that information?
15               THE DEFENDANT:     I did, your Honor.
16               THE COURT:    And you have the right to have the United
17   States Attorney present this matter to a grand jury and seek a
18   return of an indictment.
19               Mr. Scharg, I do have a copy of the waiver of that
20   indictment.     Will you please place on the record what you did
21   as relates to your client receiving this and signing this
22   document?
23               MR. SCHARG:     Yes, your Honor.     I met with my client a
24   number of times.      We met this afternoon in the marshal's lockup
25   area.   I presented Mr. Fraley with a copy of the information

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1    and explained to him, as you said, his rights to proceed by
2    indictment or waive indictment and proceed by information, and
3    he signed a form where he agreed to waive indictment and
4    proceed by information on this one-count information, and we
5    also went over the acknowledgment of the information,
6    indicating that the mandatory minimum -- there's a mandatory
7    minimum sentence of 5 years and a maximum of 40 years.             He
8    acknowledged that form and signed it, along with myself.
9                THE COURT:    Thank you.     All right.    And I'm going to
10   find Mr. Fraley has knowingly and competently waived his right
11   to an indictment.
12               Mr. Fraley, the purpose of the hearing today, the
13   first thing is to advise you of the substance of the charge
14   contained in the information, the potential penalties the
15   charge carries, and advise you of some of your constitutional
16   rights, and, as your counsel has just stated, Count 1,
17   possession with intent to distribute five kilograms of
18   methamphetamine, carries a maximum penalty of 40 years, minimum
19   of 5 years, followed by a term of supervised release of at
20   least 4 years, and a fine of not more than $5 million.
21               Do you understand that?
22               THE DEFENDANT:     I do, your Honor.
23               THE COURT:    Okay.    And you have a right to make a
24   statement, not to make a statement.         Any statement that you do
25   make may be used against you, and do you understand your right

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1    to your silence?
2                THE DEFENDANT:     I do, your Honor.
3                THE COURT:    Okay.    You also have a constitutional
4    right to be represented by an attorney.          You do have a
5    court-appointed attorney today, Mr. Scharg.
6                THE DEFENDANT:     Yes, I do.
7                THE COURT:    And you don't wish to retain your own
8    counsel?
9                THE DEFENDANT:     No, ma'am.
10               THE COURT:    You want to remain with Mr. Scharg
11   representing you?
12               THE DEFENDANT:     Yes, ma'am.
13               THE COURT:    Okay.    You understand that, at any point,
14   you have a right to retain your own counsel if you wish.             It's
15   been determined that you cannot afford an attorney of your own,
16   and that's how Mr. Scharg has been appointed.           He's a wonderful
17   attorney and I'm sure you will work well with him, but if, at
18   any point, you have the funds and decide you want to retain
19   your own counsel, just let me know, okay?
20               THE DEFENDANT:     Yes, ma'am.
21               THE COURT:    And turning to the information, as stated
22   already, the charge in Count 1 of the information is possession
23   with intent to distribute five or more grams of methamphetamine
24   in violation of 18 United States Section 841(a)(1) and
25   841(b)(1)(B)(viii), and regarding the penalties, I do have your

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1    acknowledgment of that information and here's your signature as
2    well as that of Mr. Scharg's.
3                Mr. Scharg, are you prepared to enter a plea on
4    behalf of your client at this point as to the information
5    before we move forward?
6                MR. SCHARG:     Yes, your Honor.     For purposes of the
7    arraignment, we will waive formal reading of the information,
8    stand mute and ask the Court to enter a plea of not guilty.
9                THE COURT:    Okay.    A plea of not guilty on the charge
10   in the information will be entered, and the record will reflect
11   the Defendant has been arraigned on the information.
12               And then, Mr. Scharg, are we moving to do something
13   else today?
14               MR. SCHARG:     Pardon me?
15               THE COURT:    Are we going to change the plea today?
16               MR. SCHARG:     Yes, your Honor.     That was a formality.
17               At this juncture, we have signed and executed a
18   Rule 11 Plea Agreement and ask the Court proceed with a change
19   of plea hearing in this matter.
20               THE COURT:    Okay.    So, Mr. Fraley, you understand at
21   this point, your attorney has stated that you will be changing
22   your plea to that of guilty of Count 1 of the information; is
23   that correct?
24               THE DEFENDANT:     Yes, ma'am.
25               THE COURT:    Okay.    I did receive the Rule~11 Plea

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1    Agreement that is signed by you, Mr. Fraley, and we're going to
2    go over that in a few minutes.
3                So did you have an opportunity to review that plea
4    agreement and to counsel with your attorney?
5                THE DEFENDANT:     Yes, ma'am.
6                THE COURT:    And do you understand that agreement?
7                THE DEFENDANT:     I do.
8                THE COURT:    All right.     Mr. Scharg, are you satisfied
9    that the Defendant understands the agreement?
10               MR. SCHARG:     Yes, your Honor.
11               THE COURT:    And has -- I'm sorry.
12               MR. SCHARG:     I will say that I met with Mr. Fraley
13   Friday at the Clare County Jail in Harrison, Michigan.             We went
14   over the plea agreement at that time, and there was several
15   minor changes to that agreement, and, earlier today, I met with
16   Mr. Fraley in the lockup area and went over the documents with
17   him, including the plea, the Rule~11 Plea Agreement.
18               THE COURT:    Okay.
19               MR. SCHARG:     He indicated to me that he wished to
20   sign that agreement and proceed with a change of plea.
21               THE COURT:    Okay.    And that agreement is the basis on
22   which he intends to plead guilty here today?
23               MR. SCHARG:     Yes, your Honor.
24               THE COURT:    Okay.    Mr. Fraley, I'm going to explain
25   briefly what's going to happen at today's hearing.            We're

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1    having this hearing so I can decide whether to accept your
2    guilty plea on that charge.        I'm going to you ask you some
3    background questions at first -- sorry, this is very loud, I'm
4    new to this courtroom.       I was in a different courtroom before
5    and I'm getting used to things.
6                Okay.   I'm going to start asking you some background
7    questions first, okay, Mr. Fraley?
8                THE DEFENDANT:     Okay.
9                THE COURT:    You've already placed under oath, and so
10   any answers you give may later be used against you in a
11   prosecution for perjury or giving a false statement if anything
12   you say to me is not true and accurate; do you understand that?
13               THE DEFENDANT:     I do, your Honor.
14               THE COURT:    Okay.    So let's start what's your full
15   name?
16               THE DEFENDANT:     Michael Fraley, Jr.
17               THE COURT:    Where were you born, sir?
18               THE DEFENDANT:     Flint, Michigan.
19               THE COURT:    Are you a United States citizen?
20               THE DEFENDANT:     I am.
21               THE COURT:    How old are you?
22               THE DEFENDANT:     Forty-one.
23               THE COURT:    And how much school did you complete?
24               THE DEFENDANT:     Eighth grade.
25               THE COURT:    Okay.    Did you do anything further, get

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 1    your GED or do any other schooling?
 2                THE DEFENDANT:     I'm working on that right now.        I
 3    passed two parts.     I need math and science.       So I'm on the way.
 4                THE COURT:    Okay.   Very good.     Do you read, write,
 5    and understand the English language?
 6                THE DEFENDANT:     Yeah, I do.
 7                THE COURT:    Have you been treated for any mental
 8    illness or addiction to narcotic drugs of any kind?
 9                THE DEFENDANT:     No.   No, I have not.
10                THE COURT:    Okay.   Are you currently under the
11    influence of any drug, medication, or alcoholic beverage of any
12    kind?
13                THE DEFENDANT:     No, your Honor.
14                THE COURT:    In the last three days, have you taken
15    any drug, medication or alcohol that might now affect your
16    ability to understand what people are saying?
17                THE DEFENDANT:     No.
18                THE COURT:    Or interfere with your judgment or
19    ability to make decisions?
20                THE DEFENDANT:     No.
21                THE COURT:    And do you have any mental condition or
22    disability that would prevent you from fully understanding the
23    charges against you or the consequences of pleading guilty?
24                THE DEFENDANT:     No.
25                THE COURT:    Is there any reason we should not go

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 1    forward today?
 2                THE DEFENDANT:     I don't see why there's not.
 3                THE COURT:    Okay.   Mr. Scharg, you talked to your
 4    client about these proceedings?
 5                MR. SCHARG:    Yes, your Honor.
 6                THE COURT:    Do you have any reason to believe he
 7    should not go forward with this plea today?
 8                MR. SCHARG:    No, your Honor.
 9                THE COURT:    Do you believe the Defendant is in
10    possession of his faculties and competent to proceed?
11                MR. SCHARG:    Yes, your Honor.
12                THE COURT:    Mr. Longsworth, do you have any reason to
13    believe the Defendant is not competent to proceed?
14                MR. LONGSWORTH:     No reason, your Honor.
15                THE COURT:    All right.    Thank you.     Based on the
16    statements of the Defendant and both counsel, as well as my own
17    observations, I find the Defendant is in full possession of his
18    faculties and is competent to proceed.
19                Mr. Fraley, have you received a copy of the
20    information that includes the charge made against you?
21                THE DEFENDANT:     I have, your Honor.
22                THE COURT:    Have you fully discussed that charge with
23    your attorney?
24                THE DEFENDANT:     Yes.
25                THE COURT:    Are you fully satisfied with his counsel,

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 1    representation, and advice given to you in this case?
 2                THE DEFENDANT:     Yes.
 3                THE COURT:    Has anyone made any promise or assurances
 4    to persuade you to plead guilty?
 5                THE DEFENDANT:     No.
 6                THE COURT:    Has anyone forced or threatened you in
 7    any way to persuade you to plead guilty?
 8                THE DEFENDANT:     No, your Honor.
 9                THE COURT:    Mr. Scharg, were all formal plea offers
10    by the Government conveyed to the Defendant?
11                MR. SCHARG:    Pardon me, your Honor?
12                THE COURT:    Were all formal plea offers --
13                MR. SCHARG:    Yes.
14                THE COURT:    And Mr. Fraley, are you pleading guilty
15    of your own free will because you're guilty of the crime you
16    are accused of committing?
17                THE DEFENDANT:     Yes, your Honor.
18                THE COURT:    And are the answers you are giving today
19    not merely answers you were told to give by your attorney but
20    are your own answers?
21                THE DEFENDANT:     The truth, yes, your Honor.
22                THE COURT:    Do you understand if I accept your guilty
23    plea, you will have been convicted of a felony just as if were
24    you tried by a jury and convicted?
25                THE DEFENDANT:     Yes.

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 1                THE COURT:    And do you understand if I accept your
 2    guilty plea, you'll be deprived of certain valuable civil
 3    rights, which is the right to vote, the right to hold public
 4    office, the right to serve on a jury, and the right to possess
 5    firearms?
 6                THE DEFENDANT:     Yes, your Honor.
 7                THE COURT:    And do you understand if I accept your
 8    guilty plea, you'll be waiving certain other rights, including
 9    the right to plead not guilty to any offense charged against
10    you and persist in that plea, the right to a trial by jury, the
11    right to be presumed innocent until proven otherwise, the right
12    to have the Government prove guilt beyond a reasonable doubt,
13    the right to be represented by counsel, and, if necessary, have
14    the Court appoint counsel for you at trial and every other
15    stage of this proceeding, the right at trial to have witnesses
16    appear against you and have them cross examined, the right to
17    have the Court order any defense witnesses to appear during the
18    trial, the right to testify and present evidence at your trial
19    or to decline to testify if you so choose, the right not to
20    have your silence used against you.
21                Do you understand all of those rights?
22                THE DEFENDANT:     Yes, I do, your Honor.
23                THE COURT:    Do you wish to waive those rights at this
24    time?
25                THE DEFENDANT:     Yes.

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 1                THE COURT:    All right.    I understand that you said
 2    that you were a United States citizen, but just to inform you
 3    if you are not a United States citizen, this plea could subject
 4    you to deportation.
 5                THE DEFENDANT:     Correct.
 6                THE COURT:    Mr. Longsworth, could you please go over
 7    the Rule~11 Agreement?
 8                MR. LONGSWORTH:     Yes, your Honor.
 9                The Defendant will plead guilty to Count 1 of the
10    information, which charges him with possessing with intent to
11    distribute five grames or more of methamphetamine under 21
12    United States Code Sections 841(a) and 841(b)(1)(B)(viii).
13                The penalties are set forth in the Rule~11 Agreement
14    are the same as the Court articulated earlier in this hearing.
15    If the Court accepts this agreement and imposes a sentence
16    consistent with its terms, the United States Attorney's office
17    will move to dismiss any remaining charges in the first
18    superseding indictment.       Those are, specifically, Counts 1 and
19    3 of the first superseding indictment.
20                With respect to the elements of the offense, there
21    are two:    First, that the Defendant possessed with intent to
22    distribute five grams or more of actual methamphetamine, a
23    Schedule~II controlled substance; and, second, that the
24    Defendant did so knowingly or intentionally.
25                The Defendant agrees to the factual basis as true and

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 1    correct and provides a valid basis for the Court to accept his
 2    guilty plea.
 3                With respect to the guidelines, your Honor, the
 4    Government is recommending a three-level reduction for
 5    acceptance of responsibility.
 6                In addition, there are two other recommendations.
 7    One is that Defendant was on parole at the time of the offense,
 8    and, two, that the Defendant's criminal history category is
 9    level or category VI.
10                With respect to the Defendant's sentence, the
11    Government is recommending that the sentence of imprisonment
12    not exceed the top of the Defendant's guideline range as
13    determined by the Court.       The Defendant understands that he has
14    no right to withdraw from this agreement or withdraw his guilty
15    plea if the Court decides not to follow the Government's
16    recommendation.
17                There is a recommendation of four years of -- a
18    four-year-term of supervised release to follow any term of
19    incarceration and, again, he has no right to withdraw from this
20    plea agreement or to withdraw his guilty plea if the Court
21    decides not to follow the Government's recommendation.
22                There is an appeal waiver where the Defendant waives
23    any right he may have to appeal his conviction on any grounds,
24    and if his sentence of imprisonment does not exceed the top of
25    the guideline range as determined by Court, he also waives any

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 1    right he may have to appeal his sentence on any grounds.
 2                Finally, there's a collateral review waiver where he
 3    retains the right to raise claims alleging ineffective
 4    assistance of counsel or prosecutorial misconduct as long as he
 5    properly raises those claims under 28 United States Code
 6    Section 2255, but he also waives any other right he may have to
 7    challenge his conviction or sentence by collateral review,
 8    including, but not limited to the right he may have to
 9    challenge his conviction and sentence on any grounds under 28
10    United States Code Section 2255.
11                Those are the material provisions of the agreement.
12                THE COURT:    Thank you.    Mr. Scharg, is that all
13    accurate?
14                MR. SCHARG:    Yes, your Honor.
15                THE COURT:    Okay.   Mr. Fraley, you understand the
16    possible consequences of your plea that were just listed?
17                THE DEFENDANT:     I do, your Honor.
18                THE COURT:    Sir, are you currently on probation or
19    parole for any other offense?
20                THE DEFENDANT:     No, your Honor.
21                THE COURT:    In terms of what your sentence will be,
22    it will be determined by applying the factors in the federal
23    sentencing statute, 18 U.S.C. 3553(a).         Those factors include
24    the nature and circumstances of the offense, promoting respect
25    for the law, protecting the public, the history and

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 1    characteristics of the Defendant, and the range of available
 2    sentences.    Another relevant factor is the sentencing range
 3    pursuant to the United States Sentencing Commission Guidelines.
 4                Mr. Fraley, have you and your attorney talked about
 5    how the United States Sentencing Guidelines might apply to your
 6    case?
 7                THE DEFENDANT:     We have.
 8                THE COURT:    And do you understand that those
 9    guidelines are advisory only?
10                THE DEFENDANT:     Yes, yep.
11                THE COURT:    And I will consider all the information
12    in the presentence report, including the guideline calculation
13    and your background.      Judges may often give defendants a
14    sentence that is within the range calculated by the federal
15    sentencing guidelines, however, the judge does not have to
16    follow the guideline range sentence.         I can legally impose a
17    sentence that is either above or below the guideline
18    recommended sentence range, but I cannot sentence you to any
19    term that is higher than the statutory maximum, which, again,
20    there's a minimum of 5 years and a maximum of 40 years for this
21    count, and the Court will make a final determination what your
22    sentence will be.
23                THE DEFENDANT:     Okay.
24                THE COURT:    Do you understand that if you are
25    sentenced to prison, you will not be released on parole?

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 1                THE DEFENDANT:     Okay.
 2                THE COURT:    Okay.   Having gone over your rights and
 3    the charge and the elements the Government would have to prove,
 4    how do you plead to the charge of possession with intent to
 5    distribute five or more grams of methamphetamine?
 6                THE DEFENDANT:     I plead guilty, your Honor.
 7                THE COURT:    Okay.   Mr. Scharg, could you please
 8    question as to the factual basis.
 9                MR. SCHARG:    Yes.   Thank you, your Honor.
10                Mr. Fraley, on or about March 24th, 2020 in the
11    Eastern District of Michigan, Flint -- city of Flint, Genesee
12    County, did you knowingly possess about 12 grams of
13    methamphetamine with the intent to distribute or give it to
14    others?
15                THE DEFENDANT:     I did, your Honor -- I did.
16                MR. SCHARG:    I believe that satisfies the elements.
17                THE COURT:    Thank you.    Mr. Longsworth?
18                MR. LONGSWORTH:     I'm satisfied, your Honor.
19                THE COURT:    All right.    Counsel, has the Court
20    complied with the requirements of Rule 11 of the Federal Rules
21    of Criminal Procedure?
22                MR. LONGSWORTH:     Yes, your Honor.
23                MR. SCHARG:    Yes, your Honor.
24                THE COURT:    All right.    The Court is satisfied with
25    the Defendant's responses as given.         Therefore, it is the

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 1    finding of the Court in the case of the United States versus
 2    Michael Fraley, Jr., the Defendant is fully competent and
 3    capable of entering an informed plea.         The Defendant is aware
 4    of the nature and charges and the consequences of the plea.
 5    The plea of guilty is knowing and voluntary, a knowing and
 6    voluntary plea supported by an independent basis of fact
 7    containing each of the essential elements of that offense.
 8                The plea is, therefore, accepted, and the Defendant
 9    is now adjudged guilty of that offense.
10                I will take the Rule~11 Agreement under advisement.
11                This case is referred to the probation department for
12    a presentence report and the Defendant is asked to cooperate
13    with the probation department consistent with counsel's advice.
14    The parties will have an opportunity to object to any
15    inaccuracies or disagreements that they have to the presentence
16    report, and sentencing in this case is set for January 26, 2023
17    at 11:00 a.m.     Mr. Fraley must appear for sentencing on that
18    date.
19                Anything else for the record, counsel?
20                MR. LONGSWORTH:     Nothing further, your Honor.
21                MR. SCHARG:    No, your Honor.
22                THE COURT:    Okay.   Thank you.
23                CASE MANAGER:     All rise.    Court is adjourned.
24                      (Proceedings concluded 3:13 p.m.)
25                                      - - -

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 2                          C E R T I F I C A T I O N
 3          I, Andrea E. Wabeke, official court reporter for the
 4    United States District Court, Eastern District of Michigan,
 5    Southern Division, appointed pursuant to the provisions of
 6    Title 28, United States Code, Section 753, do hereby certify
 7    that the foregoing is a correct transcript of the proceedings
 8    in the above-entitled cause on the date hereinbefore set forth.
 9    I do further certify that the foregoing transcript has been
10    prepared by me or under my direction.
11
12    /s/Andrea E. Wabeke                February 21, 2023
13    Official Court Reporter            Date
      RMR, CRR, CSR
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